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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                        WESTERN DIVISION

MARIAH SIMPSON, Individually and                      §
on behalf of all Others Similarly                     §
Situated                                              §
                                                      §
                                                      §
                    Plaintiff,                        §
                                                      §
v.                                                    §      Civil Action No. 4:18-cv-00290-JM
                                                      §
DAVE & BUSTER’S OF ARKANSAS,                          §
INC; DAVE & BUSTER’S, INC.; DAVE                      §
& BUSTER’S ENTERTAINMENT, INC;                        §
DAVE & BUSTER’S MANAGEMENT                            §
CORPORATION, INC.; DAVE &                             §
BUSTER’S HOLDINGS, INC.; and                          §
DAVE & BUSTER’S OF KANSAS, INC.                       §
                                                      §
                    Defendant.


              PARTIES’ JOINT MOTION FOR STAY PENDING ARBITRATION


         Pursuant to 9 U.S.C. § 3, Plaintiff Mariah Simpson (“Plaintiff”) and Defendants

Dave & Buster’s of Arkansas, Inc.; Dave & Buster’s, Inc.; Dave & Buster’s Entertainment,

Inc., Dave & Buster’s Management Corporation, Inc.; Dave & Buster’s Holdings, Inc.; and

Dave & Buster’s of Kansas, Inc. (“Defendants” and, together with Plaintiff, “the Parties”),

by and through their undersigned counsel, hereby jointly move this Court to stay this

action pending arbitration and in support show the Court as follows:

         1.        Plaintiff       filed   her Original   Complaint—Class   and   Collective Action

(“Complaint”) in the United States District Court, Eastern District of Arkansas, Western

Division on May 2, 2018.

         2.        Defendants were served with the Complaint on May 3, 2018.




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         3.        The original due date for Defendants’ Answer or other responsive pleading to

Plaintiff’s Complaint was Thursday, May 24, 2018.

         4.        On May 22, 2018, the Parties filed their Joint Motion for Extension of Time to

Plead, agreeing to extend Defendants’ deadline to answer or otherwise respond to the

Complaint until Friday, June 22, 2018. Dkt. No. 8. The Court granted this motion on the

same day. Dkt. No. 9.

         5.        The Parties have conferred and agreed to submit the above-styled dispute to

arbitration, pursuant to an arbitration agreement signed by Plaintiff.

         6.        The Federal Arbitration Act provides that when a proceeding is referable to

arbitration, the court “shall on application of one of the parties stay the trial of the action

until such arbitration has been had in accordance with the terms of the agreement . . . .” 9

U.S.C. § 3.

         7.        Pursuant to 9 U.S.C. § 3, the Parties jointly ask this Court to stay the above-

styled cause pending the arbitration proceedings.

         8.        No prejudice will result to either party by granting this motion, which is not

made for purposes of delay.

         WHEREFORE, the Parties respectfully request that the Court grant this Motion

and stay this case pending arbitration.




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         Dated June 21, 2018                         Respectfully submitted,



                                                     /s/ Kimberly R. Miers
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                                   CERTIFICATE OF SERVICE


       On June 21, 2018, I electronically submitted the foregoing document with the Clerk
of Court for the U.S. District Court, Eastern District of Arkansas, Western Division, using
the Electronic Case Filing system of the Court. I hereby certify that I have served all
counsel of record as follows:

         Via Electronic Case Filing
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                                                     /s/ Kimberly R. Miers
                                                     Kimberly R. Miers




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